                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  GEORGE ANTHONY SEXTON, et al.,                    )
                                                    )
                       Plaintiffs,                  )
                                                    )
  v.                                                )      No.:   3:09-CV-535
                                                    )             (VARLAN/SHIRLEY)
  STATE FARM FIRE & CASUALTY                        )
  COMPANY,                                          )
                                                    )
                       Defendant.                   )


                        MEMORANDUM OPINION AND ORDER

         This civil action is before the Court on defendant State Farm Fire & Casualty

  Company’s Motion for Summary Judgment [Doc. 10], in which defendant moves the Court

  for summary judgment and submits that there is no genuine issue of material fact and

  defendant is entitled to judgment as a matter of law. Plaintiffs, George and Mary Sexton,

  have filed a response in opposition [Doc. 14], and defendant has filed a reply to plaintiffs’

  response [Doc. 15]. The Court heard oral argument on the pending motion and took the

  matter under advisement. Following oral argument, defendant submitted a supplemental

  brief [Doc. 18] to address new authority brought up by plaintiffs’ counsel at oral argument.

         After a thorough consideration of the pleadings, arguments of the parties, and the

  record as a whole, and for the reasons set forth herein, defendant’s motion for summary

  judgment will be denied.




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  I.      Relevant Facts

          Defendant issued a homeowners insurance policy (the “insurance policy”) to

  plaintiffs, insuring plaintiffs’ residence (Coverage A) and their personal property (Coverage

  B) [see Doc. 13]. The insurance policy contained the following provision:

                       SECTION I AND SECTION II - CONDITIONS

                  2.    Concealment or Fraud. This policy is void as to you and any
                        other insured, if you or any other insured under this policy has
                        intentionally concealed or misrepresented any material fact or
                        circumstance relating to this insurance, whether before or after
                        a loss.

  [Id., p. 32].

          On October 27, 2008, while the insurance policy was in effect, plaintiffs’ home was

  completely destroyed by fire [Doc. 1-1, ¶ 5]. Following the fire, plaintiffs tendered a claim

  to defendant for losses under both Coverage A and Coverage B [Id., ¶¶ 6-8; Doc. 14-3, ¶¶

  6-7]. On December 18, 2008, and again on February 5, 2009, plaintiffs prepared and signed,

  under penalty of prosecution. “Personal Property Inventory Forms” (“PPIFs”) detailing the

  contents of their home [Docs. 12-1; 12-2]. Together, the PPIFs consist of 57 pages of

  personal property and household items plaintiffs claim were destroyed in the fire. In total,

  defendant asserts that plaintiffs claim in the PPIFs a total loss of $143,558.70 in personal

  property under Coverage B. Defendant subsequently refused to pay plaintiffs’ claim [Doc.

  1-1, ¶ 8].

          In light of defendant’s refusal to pay, plaintiffs initiated this lawsuit, seeking to

  recover fully under their insurance policy [Doc. 1-1]. Plaintiffs also seek a 25% bad-faith

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  refusal penalty under Tenn. Code Ann. § 56-7-104(a) and recovery for violations of the

  Tennessee Consumer Protection Act (the “TCPA”), Tenn. Code Ann. §§ 47-18- 101, et seq.

         Defendant filed this motion for summary judgment stating that it properly denied

  plaintiffs’ claim because plaintiffs engaged in intentional concealment and misrepresentation

  during defendant’s investigation of plaintiffs’ loss from the fire. As support of this position,

  defendant points out that on April 23, 2008, just over six months before the fire, plaintiffs

  filed for Chapter 13 bankruptcy protection in the U.S. Court for the Eastern District of

  Tennessee (the “Bankruptcy Court”). Pursuant to their Chapter 13 petition, plaintiffs filed

  a “Schedule B - Personal Property” statement (“Schedule B”) [Doc. 14-3, ¶¶ 9-10; Doc. 12-5,

  p. 4]. In Schedule B, as the current value of their interest in personal property, plaintiffs

  listed $2,600.00, this amount including $1,500.00 for “LR Suite, BR Suite, laptop, TV,”

  $300.00 for clothing, and $800.00 for jewelry [Doc. 14-3, ¶ 10; Doc. 12-5, p. 4]. Plaintiffs

  listed no other personal property, save for a vehicle, and claimed all the aforementioned

  property to be exempt from creditors [Doc. 12-5]. Plaintiffs acquired almost no personal

  property between the filing of their Chapter 13 petition on April 23 and the fire of their home

  on October 27 [Doc. 14-3, ¶ 11]. Plaintiffs’ Chapter 13 petition was discharged on October

  11, 2008, a few weeks prior to the fire, for failure to make payments to the trustee [Doc. 14-

  3, ¶ 12].

         Defendant also asserts that on August 6, 2008, plaintiff Mary Sexton (“Mrs. Sexton”)

  was charged with fraudulent use of a credit card, in violation of Tenn. Code Ann. § 39-14-

  118 [Doc. 12-8]. In seeking appointment of counsel, Mrs. Sexton filed out a Uniform

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  Affidavit of Indigency which required her to list all assets owned in the proceeding six

  months [Doc. 14-3, ¶ 15; Doc. 12-10]. On the affidavit, Mrs. Sexton listed her only assets

  as being her home and a Chevrolet Tahoe [Doc. 12-10]. In response to a query asking for

  “all assets not already listed,” Mrs. Sexton wrote “N/A” [Id.]. Mrs. Sexton pled guilty to

  fraudulent use of a credit card on September 2, 2008, for which she received probation and

  judicial diversion.1 On August 13, 2008, plaintiff George Sexton (“Mr. Sexton”) pled guilty

  to attempted forgery, in violation of Tenn. Code Ann. § 39-14-114, for which he was ordered

  to pay restitution totaling $2,360.00 by September 17, 2008 [Doc. 14-3, ¶ 16].

  II.    Analysis

         A.      Standard of Review

         A court may grant summary judgment only when there is no genuine issue of material

  fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c).

  The moving party bears the burden of establishing that no genuine issues of material fact

  exist. Celotex Corp. v. Catrett, 477 U.S. 317, 330 n.2 (1986); Moore v. Phillip Morris Cos.,

  Inc., 8 F.3d 335, 339 (6th Cir. 1993). The Court views the facts and all inferences to be

  drawn therefrom in the light most favorable to the non-moving party. Matsushita Elec.




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           Plaintiffs assert that Mrs. Sexton did not plead guilty but was offered judicial diversion and
  that her record will be erased once her probationary period ends [Doc. 14-3, ¶¶ 13-14]. This
  assertion, however, is belied by the record. Defendant has submitted a judgment from the Circuit
  Court of Scott County, entered on September 2, 2008, providing that Mrs. Sexton entered a “Guilty
  Plea – Pursuant to 40-35-313” to fraudulent use of a credit card, and that she was placed on 6 years
  probation [Doc. 12-8].

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  Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Burchett v. Kiefer, 310

  F.3d 937, 942 (6th Cir. 2002).

         “Once the moving party presents evidence sufficient to support a motion under Rule

  56, the nonmoving party is not entitled to a trial merely on the basis of allegations.” Curtis

  Through Curtis v. Universal Match Corp., Inc., 778 F. Supp. 1421, 1423 (E.D. Tenn. 1991)

  (citing Catrett, 477 U.S. at 317). To establish a genuine issue as to the existence of a

  particular element, the non-moving party must point to evidence in the record upon which

  a reasonable finder of fact could find in its favor. Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 248 (1986). The genuine issue must also be material; that is, it must involve facts that

  might affect the outcome of the suit under the governing law. Id.

         The Court’s function at the point of summary judgment is limited to determining

  whether sufficient evidence has been presented to make the issue of fact a proper question

  for the factfinder. Anderson, 477 U.S. at 250. The Court does not weigh the evidence or

  determine the truth of the matter. Id. at 249. Nor does the Court search the record “to

  establish that it is bereft of a genuine issue of material fact.” Street v. J.C. Bradford & Co.,

  886 F.2d 1472, 1479-80 (6th Cir. 1989). Thus, “the inquiry performed is the threshold

  inquiry of determining whether there is a need for a trial—whether, in other words, there are

  any genuine factual issues that properly can be resolved only by a finder of fact because they

  may reasonably be resolved in favor of either party.” Anderson, 477 U.S. at 250.




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         B.     Post-Loss Conduct Following the Issuance of an Insurance Policy

         In McConkey v. Continental Ins. Co., 713 S.W.2d 901 (Tenn. App. 1984), the

  Tennessee court of appeals noted that “[p]olices of fire and property indemnity insurance

  usually provide that any fraud or false swearing on the part of the insured . . . shall relieve

  the insurer from liability.” McConkey, 713 S.W.2d at 906 (quoting 44 Am. Jur. 2d Insurance

  § 1371 at 299-300). In Boston Marine Ins. Co. v. Scales, the Tennessee Supreme Court

  distinguished between false statements made in the application for insurance from those

  made subsequent to the issuance of the policy. 49 S.W. 743 (1899). According to the Boston

  Marine court, voiding an insurance policy after a loss occurs is “in the nature of a penalty or

  forfeiture” and in such a case, “a strict construction should be adopted, and the forfeiture not

  be enforced except on the plainest grounds, if at all.” 49 S.W. at 746.

         Following Boston Marine, courts in Tennessee have consistently noted that material

  misrepresentations made in a proof of loss statement do not void an insurance policy, unless

  evidence establishes, on the plainest grounds, that the misrepresentations were willfully and

  knowingly made with the intent to deceive or defraud the insurer. See Trice v. Commercial

  Union Assurances Co., Ltd., 334 F.2d 673, 676 (6th Cir. 1964); Nix v. Sentry Ins., 666

  S.W.2d 462, 464 (Tenn. App. 1983). While the requisite knowledge and intent “can . . . be

  inferred from all of the circumstances under the record[,]” Trice, 334 F.2d at 676, the insurer

  has the burden of proving that the insured intended to deceive or defraud the insurer.

  Wassom v. State Farm Mut. Auto. Inc. Co., 173 S.W.3d 775, 783 (Tenn. Ct. App. 2005).

  Thus, when an insurer raises the defense of fraud in connection with a claim made

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  subsequent to the issuance of a policy, in order to void the policy, the insured’s false

  statements must be willfully false in some material matter and made with the intent to

  deceive the insurer. Joyner v. Omaha Prop. & Cas. Ins. Co., No. 02A01-9301-CV-00021,

  1993 WL 295049, at *5 (Tenn. Ct. App. W.S. Aug. 4, 1993); Baker v. Nationwide Mut. Ins.

  Co., 646 S.W.2d 440, 443 (Tenn. Ct. App. 1982). Intent to deceive is also a question of fact.

  Joyner, 1993 WL 295049, at *5.

            In Wassom v. State Farm Mut. Automobile Ins. Co., a case involving an automobile

  insurance policy, the Tennessee court of appeals affirmed the trial court’s finding that the

  plaintiff had made willful material misrepresentations subsequent to the issuance of her

  policy.      173 S.W.3d at 785.       The trial court had concluded that the plaintiff’s

  misrepresentations, which included lying about how the wreck of her vehicle occurred, were

  made with the intent to deceive the defendant insurer. Id. On appeal, the plaintiff argued

  that she had no intent to deceive the defendant insurer because she was only trying to protect

  a third party driver involved in the wreck from criminal prosecution. Id. at 783. The court

  of appeals rejected the plaintiff’s argument, noting that even if the plaintiff’s

  misrepresentations were made for the purpose of protecting the third party, this “[did] not

  change the undeniable fact that [the plaintiff] intended to deceive” the defendant insurer. Id.

  at 784. The court of appeals noted in particular that the plaintiff had admitted at her

  deposition that she lied to the defendant insurer “over and over again and in fact lied under

  oath and continued this course of deception up until the time . . . her ‘story’ fell apart[,]” that

  the plaintiff “lied about whether she loaned the car to a friend, lied about knowing who was

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  driving the car when it was wrecked, [and] submitted a sworn affidavit with false testimony,

  etc.” Id. After considering this evidence of intent to deceive, the court of appeals agreed that

  the defendant insurer was entitled to summary judgment because the plaintiff’s statements

  were made with the intent to deceive and constituted willful, material misrepresentations

  having to do with her insurance policy. Id. at 786.

         In Smith v. Fireman’s Fund Ins. Co. (“Fireman’s Fund”), an unpublished opinion

  from the U.S. Court of Appeals for the Sixth Circuit, the court of appeals affirmed the district

  court’s conclusion that the plaintiffs had made material misrepresentations regarding the

  valuation and acquisition of their personal property. 16 F.3d 1221 (Table), 1994 WL 6043,

  at *4 (6th Cir. Jan 7, 1994). In its findings, the district court noted that the plaintiffs had

  engaged in a pattern of bad faith and misrepresentation of facts in attempting to justify claims

  for loss in their contents inventory submitted to the defendant insurance company following

  a fire in their home. Fireman’s Fund, 1994 WL 6043, at *2. The district court noted that,

  although the plaintiffs were experiencing financial difficulties, they justified their claims for

  large amounts of personal property by asserting that they had made large household

  purchases with cash belonging to their daughter which she, in turn, had inherited from a

  deceased aunt. Id. at *1-*2. The district court found these statements to be “wholly

  incredible” because the daughter was eight or nine years of age and the deceased aunt was

  destitute and incapable of transferring wealth. Id. at *2. The district court characterized the

  plaintiffs’ statements as fabrications involving a “complicated series of untraceable

  gratuitous transfers from [the] deceased aunt.” Id. The district court also noted that “at

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  trial[,] plaintiffs exhibited a remarkable ability to testify untruthfully[,]” id., and that the

  plaintiffs made additional misrepresentations on a statement of financial affairs regarding the

  value of a piece of real estate and misrepresented to a claims adjuster their income from a

  dog kennel business. Id. at *2 n.6. The court of appeals affirmed the district court’s finding

  of material representations. Id. at *4.

         A different result was reached in Matthews v. Auto Owners Mut. Ins. Co., 680 F.

  Supp. 287 (M.D. Tenn. 1988) In Matthews, the plaintiff had an insurance policy covering

  his home and personal property. 680 F. Supp. at 287. After the plaintiff’s home was

  destroyed by fire, he submitted a sworn proof of loss statement to the defendant insurer

  listing personal property items he claimed were destroyed. Id. It was determined later,

  however, that several of the claimed items were not actually in his home at the time of the

  fire. Id. The defendant insurer refused to pay the claim, asserting that the plaintiff could not

  recover because he knowingly made material misrepresentations in his proof of loss

  statement which, under the “concealment or fraud” provision in the plaintiff’s policy,

  rendered the entire policy void. Id. The district court disagreed, noting that the plaintiff

  admitted at his deposition to misrepresenting the items in his proof of loss because “based

  upon a conversation he had with an . . . insurance agent, he thought he was required to do

  so.” Id. The district court also noted that other testimony indicated that the plaintiff was in

  a confused mental state when he completed the proof of loss and that he stated he “never

  expected [the defendant insurer] to pay for all of the items listed in the proof of loss

  statement.” Id. After citations to McConkey and Boston Marine, the district court observed

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  that “material misrepresentations made in a proof of loss statement do not void an insurance

  policy, unless evidence establishes, on the plainest grounds, that the misrepresentations were

  willfully and knowingly made with the intent to deceive or defraud the insurer.” Id. at 289

  (citing Trice, 334 F.2d at 676). The district court concluded that a genuine issue of fact

  remained concerning whether the plaintiff misrepresented “the extent of his personal property

  loss with the intent to deceive or defraud” the defendant insurer. Id. (emphasis in original).

         In this case, defendant asserts that the substantial difference between the $2,600.00

  value of the personal property plaintiffs listed on Schedule B, and the more than $140,000.00

  worth of items plaintiffs listed in the PPIFs, constitutes a misrepresentation for which

  defendant properly denied plaintiffs’ claim pursuant to the “Concealment or Fraud” provision

  of the insurance policy. In an affidavit, plaintiffs assert that the difference between the

  amounts listed in Schedule B and the amounts listed in the PPIFs is because they were

  instructed by their bankruptcy attorney to put “yard sale” prices on their household items, not

  the cost to replace the items, and thus, the values of the property listed on Schedule B are not

  the same as the values on the PPIFs plaintiffs provided to defendant as part of their claim

  under the insurance policy. In reply, defendant argues that the denial of plaintiffs’ claim had

  nothing to do with the asset valuation used by plaintiffs in reporting their loss. Rather,

  defendant argues that the denial of the claim was based on the fact that plaintiffs’ reported

  a loss in the PPIFs that was approximately 500% greater than the loss in Schedule B, and

  because Schedule B only listed seven items while the PPIFs contained over 50 pages with

  over 500 items. Such a large discrepancy is especially suspect, defendant argues, given that

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  plaintiffs have admitted that they acquired “little additional property” between filing their

  Chapter 13 petition and the October fire [see Doc. 14-4, p. 4].

         During oral argument, plaintiffs submitted a second explanation for the discrepancy

  in the amount of claimed items. Plaintiffs asserted that the personal property items claimed

  in the PPIFs included their children’s property and disposable property and that these items

  were not listed in their bankruptcy filings per instructions by their bankruptcy attorney. In

  the supplemental brief, defendant asserts that plaintiffs listed the “actual cash value” of the

  items listed in the PPIFs and argue that this designation flies in the face of plaintiff’s “yard

  sale” valuation explanation and shows that the discrepancy is indeed material.

         The Court agrees with defendant that the substantial discrepancy between the amount

  and value of the personal property listed in Schedule B and the amount and value of personal

  property loss plaintiffs claim in the PPIFs is certainly suspect and material. The Court also

  agrees with defendant that the “yard sale” valuation and the disposable and children’s

  property explanations do not resolve this substantial discrepancy. The Court, however, does

  not find the discrepancy and plaintiffs’ explanations for the discrepancy to be evidence that

  establishes “on the plainest grounds,” plaintiffs’ intent to deceive or defraud defendant. See

  Trice, 334 F.2d at 676.

         The evidence in this case does not rise to the level of intent to deceive noted in

  Wassom, in which there was evidence that the plaintiffs lied repeatedly in depositions and

  in affidavits, nor does this evidence rise to the level of intent to deceive noted in Fireman’s

  Fund, in which there was evidence of a fabricated story to explain the plaintiffs’ elaborate

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  claims of property loss, evidence that the plaintiffs had testified untruthfully on the stand, and

  evidence that they had made additional misrepresentations in a statement of financial affairs

  and to a claims adjuster. The Court also notes that in Fireman’s Fund, the district court,

  sitting as finder of fact in a bench trial, was able to make credibility determinations regarding

  the plaintiffs’ testimony and the truthfulness of their claims. 1994 WL 6043, at *1, *3. This

  Court, on the other hand, is reviewing the matter pursuant to a summary judgment request

  in which the Court does not judge the weight or the credibility of the evidence. See

  Anderson, 477 U.S. at 249. While the substantial discrepancy between Schedule B and the

  PPIFs trend more toward a showing of material misrepresentations and deception than the

  facts of Matthews, the Court cannot conclude that the evidence establishes, on the plainest

  grounds, that the claims in the PPIFs are misrepresentations made willfully and knowingly

  and with the intent to deceive or defraud defendant.2

         While Tennessee law is clear that “[f]raud in the claims process can prevent recovery

  on a policy[,]” Adams v. Tennessee Farmers Mut. Ins. Co., No. W2009-00931-COA-R3-CV,

  2010 WL 1444477, at *12 (Tenn. Ct. App. Apr. 13, 2010) (citation omitted), Tennessee law

  is also clear that “false statements or false swearings made subsequent to the issuance of the

  policy and in connection with a loss are treated differently than those made in the application

  for insurance.” Joyner, 1993 WL 295049, at *3. Because the insurer has the burden of

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           The Court has noted the evidence of record that both plaintiffs have engaged in offenses
  involving fraud and forgery. However, because the Court has no indication that these charges relate
  to plaintiffs’ property loss claims in the PPIFs, the Court cannot conclude that these convictions
  constitute evidence that plaintiffs’ made material misrepresentations with the intent to deceive in
  relation to their statements in the PPIFs.

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  proving that such false statements are “willfully false in some material matter and [were]

  made with the intent to deceive the insurer,” id. at *5, the Court cannot conclude that

  defendant has, as yet, satisfied this burden. Even assuming plaintiffs’ statements in the PPIFs

  were misrepresentations of material facts relating to the insurance policy, the Court does not

  have sufficient evidence before it to make a determination that plaintiffs made these

  statements with the requisite intent to deceive or defraud defendant. See Baker, 646 S.W.2d

  at 443.

            C.     Judicial Estoppel

            Defendant also asserts that plaintiffs should be judicially estopped from seeking to

   recover from defendant any personal property not initially listed in Schedule B of their

  Chapter 13 petition. Defendant asserts that plaintiffs’ inconsistent statements regarding their

  property in Schedule B and this case constitute inconsistent statements before a court of law

  that would subvert the judicial process. In response, plaintiffs assert that because their

  Chapter 13 petition and case was dismissed and was not an adjudication of bankruptcy as set

  forth in Smith v. Allstate Ins. Co., No. 1:05-CV-329, 2006 WL 3833533 (S.D. Ohio Dec. 29,

  2006), cited by defendant, the application of judicial estoppel to this case is not appropriate.

            This Court has previously noted that:

                   Judicial estoppel “bars a party from (1) asserting a position that is
                   contrary to one that the party has asserted under oath in a prior
                   proceeding, where (2) the prior court adopted the contrary position
                   ‘either as a preliminary matter or as a part of a final disposition.’”
                   Browning v. Levy, 283 F.3d 761, 775 (6th Cir. 2002) (quoting Teledyne
                   Indus., Inc. v. NLRB, 911 F.2d 1214, 1218 (6th Cir. 1990)). The
                   purpose of the doctrine of judicial estoppel is to preserve “the integrity

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                 of the courts by preventing a party from abusing the judicial process
                 through cynical gamesmanship.” Browning, 283 F.3d at 776 (quoting
                 Teledyne Indus. Inc., 911 F.2d at 1218). However, the doctrine of
                 judicial estoppel “should be applied with caution to ‘avoid impinging
                 on the truth-seeking function of the court, because the doctrine
                 precludes a contradictory position without examining the truth of either
                 statement.’” Eubanks v. CBSK Fin. Group, Inc., 385 F.3d 894, 897 (6th
                 Cir. 2004) (quoting Teledyne Indus., Inc., 911 F.2d at 1218)). The
                 doctrine of judicial estoppel is inappropriate in cases of mistake or
                 inadvertence. Browning, 283 F.3d at 776.

  White v. Wyndham Vacation Ownership, Inc., No. 3:08-CV-405, 2009 WL 1074800 (E.D.

  Tenn. Apr. 21, 2009), aff’d, 617 F.3d 472 (6th Cir. 2010). Given this, and contrary to

  plaintiffs’ position, the fact that there was not an adjudication of bankruptcy in this case is

  not dispositive to the Court’s analysis for the application of judicial estoppel. Rather, judicial

  estoppel may still be applied when “the first court has adopted the position urged by the

  party, either as a preliminary matter or as part of a final disposition.” Reynolds v. C.I.R., 861

  F.2d 469, 473 (6th Cir. 1988) (quoting Edwards v. Aetna Life Ins. Co., 690 F.2d 595, 599 n.5

  (6th Cir. 1982)). Further, the Sixth Circuit has noted that “when a bankruptcy court—which

  must protect the interests of all creditors—approves a payment from the bankruptcy estate

  on the basis of a party’s assertion of a given position, that, in our view, is sufficient ‘judicial

  acceptance’ to estop the party from later advancing an inconsistent position.” Reynolds, 861

  F.2d at 473.

         Moreover, in Fireman’s Fund, discussed supra, in addition to finding that the

  plaintiffs had made material misrepresentations subsequent to the insurance policy, the Sixth

  Circuit affirmed the district court’s finding that the plaintiffs were judicially estopped from


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  recovering under their policy any of the proceeds from assets they failed to disclose in a prior

  bankruptcy proceeding. Fireman’s Fund Ins. Co., 1994 WL 6043, at *3. The district court

  noted that prior to the fire the plaintiffs had filed a Chapter 7 petition for bankruptcy and in

  that petition the plaintiffs claimed that the total value of their assets amounted to $4,010. Id.

  at *2. The district court observed that in the contents inventory submitted to the defendant

  insurance company after the fire, the plaintiffs claimed $21,384.67 in assets at the time of the

  fire. Id. The district court then concluded that the plaintiffs’ inconsistent positions

  constituted material omissions sufficient for a finding of judicial estoppel. Id. The Sixth

  Circuit affirmed, finding that the “inconsistent positions indicate that plaintiffs must be

  judicially estopped from claiming recovery under the insurance policy for any items they

  failed to disclose in the bankruptcy proceeding.” Id. at *3. There is no indication in

  Fireman’s Fund whether there was an adjudication of bankruptcy.

         However, the record before the Court, consisting of plaintiffs’ Chapter 13 petition,

  related schedules, and the order of the Bankruptcy Court dismissing plaintiffs’ case for

  failure to pay the trustee, does not indicate whether the Bankruptcy Court adopted, as a

  preliminary matter, plaintiffs’ position in Schedule B regarding the amount and values of

  their personal property. Thus, at present, the Court cannot determine whether plaintiffs

  should be judicially estopped from recovering under the insurance policy for the personal

  property they failed to disclose in their bankruptcy proceeding.




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  III.   Conclusion

         For the reasons set forth above, defendant’s for Summary Judgment [Doc. 10] is

  hereby DENIED because a genuine issue of material fact remains as to whether plaintiffs

  made material misrepresentations with the intent to deceive or defraud defendant and because

  the Court cannot determine, on the record presently before the Court, whether the Bankruptcy

  Court adopted, either as a preliminary matter or as part of a final disposition, plaintiffs’

  position regarding the assets claimed in Schedule B.

         IT IS SO ORDERED.



                                            s/ Thomas A. Varlan
                                            UNITED STATES DISTRICT JUDGE




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